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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 SUSAN PHILLIPS and JEFFREY                        )
 PHILLIPS, administrators of the estate of         )
 MATTHEW PHILLIPS, deceased,                       )
                                                   )
                                Plaintiffs,        )    No. 22 C 1048
                                                   )
                        v.                         )    Judge Wood
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                Defendant.         )

                                     JOINT STATUS REPORT

        Pursuant to the court’s June 8, 2023 minute entry (Dkt. 28), the parties jointly submit the

following status report:

  I.    Status of United States v. Simonson et al., 21 CR 50064 (N.D. Ill.)

        Status hearings were held for defendants Kristopher Martin (on May 4, 2023, and July 6,

2023) and Brandon Simonson (on July 6, 2023). At the May 4, 2023 status hearing, Martin

reported needing additional time to discuss plea negotiations, and at the July 6, 2023 status hearing,

both defendants reported needing additional time to review discovery. The court set a status

hearing to discuss the defendants’ discovery review progress on August 7, 2023. A trial date has

not been set for either defendant.

 II.    Modification or Lift of the Stay

        At this time, neither party desires a modification or lift of the stay imposed by the court on

January 24, 2023. Dkt. 25.
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III.    Status Hearing

        Finally, the parties do not require a status hearing at this time.

Respectfully submitted,

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